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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )                 4:05CR3099
                                    )
          v.                        )
                                    )
MICHAEL C. ELMA,                    )                    ORDER
                                    )
                Defendant.          )
                                    )



     Upon consideration of the motion to modify conditions of
release, it has been brought to the court's attention that the
defendant apparently has not requested permission for the
proposed travel from his supervising officer.


     IT THEREFORE HEREBY IS ORDERED, the motion, filing 46, is
denied, without prejudice to a new motion being filed, should the
supervising officer not grant the permission requested.


     DATED this 7th day of March, 2006.


                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
